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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    LINDA HARTER, Bar # 179741
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5
     Attorney for Defendant
6    STEPHANIE FINCH-BROOKS
7
                         IN THE UNITED STATES DISTRICT COURT
8
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10
     UNITED STATES OF AMERICA,           )   No. Mag. No. 04-373 KJM
11                                       )
                     Plaintiff,          )             AMENDED
12                                       )   STIPULATION AND ORDER
           v.                            )
13                                       )
     STEPHANIE FINCH-BROOKS,             )   Date: August 4, 2005
14                                       )   Time: 10:00 A.M.
                                         )
15                                       )   Judge: Hon. Kimberly J. Mueller
                     Defendant.          )
16
     _______________________________
17
           IT IS HEREBY STIPULATED by and between the parties hereto through
18
     their respective counsel, MATTHEW S. BLOCK, Certified Law Student,
19
     attorney for Plaintiff, LINDA HARTER, Assistant Federal Defender,
20
     attorney for defendant, that the current Judgment and Sentencing of
21
     July 14, 2005 be vacated and a new Judgment and Sentencing date of
22
     August 4, 2005 be set.
23
           Ms. Finch-Brooks attorney, Rachelle Barbour is out on leave.        This
24
     case was re-assigned to Jeff Staniels who is out of country and will
25
     not return until the end of the month.
26
     ///
27
     ///
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1           It is further stipulated and agreed between the parties that the
2    period beginning July 14, 2005 to August 4, 2005, should be excluded in
3    computing the time within which the trial of the above criminal
4    prosecution must commence for purposes of the Speedy Trial Act for
5    defense preparation.            All parties stipulate and agree that this is an
6    appropriate exclusion of time within the meaning of Title 18, United
7    States Code, Section 3161(h)(8)(iv) (Local Code T4) and that the ends
8    of justice to be served by a continuance outweigh the best interests of
9    the public and the defendant in a speedy trial.
10   Dated: July 13, 2005
11                                                       Respectfully submitted,
12                                                       QUIN DENVIR
                                                         Federal Defender
13
14                                               ________/S/LINDA HARTER_________
                                                      LINDA HARTER
15                                                    Assistant Federal Defender
                                                      Attorney for Defendant
16                                                    STEPHANIE FINCH-BROOKS
17
                                                         MCGREGOR W. SCOTT
18                                                       United States Attorney
19
     Dated: July 14, 2005
20                                                  BY:____/S/THOMAS FLYNN______
                                                       THOMAS FLYNN
21                                                     Assistant United States Attorney
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28   Stipulation and Order/Finch-Brooks, Stephanie/Mag. No. 04-373 KJM



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1
                                                      ORDER
2
             Based on the parties' stipulation and good cause appearing
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     therefrom, the Court hereby adopts the stipulation of the parties in
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     its entirety as its order.               The Court specifically finds that the ends
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     of justice served by the granting of such continuance outweigh the
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     interests of the public and the defendant in a speedy trial.
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            IT IS SO ORDERED.
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9
     DATED:     July 14, 2005.
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12                                                  ______________________________________
                                                    UNITED STATES MAGISTRATE JUDGE
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28   Stipulation and Order/Finch-Brooks, Stephanie/Mag. No. 04-373 KJM




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